Case 2:99-CV-03061-BBD-STA Document 217 Filed 07/29/05 Page 1 of 4 Page|D 272

UNITED sTA'rES DISTRICT coURT run ar o.c,
FoR THE wESTERN DISTRICT oF TENNESSEE _
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AMERICAN NATIONAL ) U-S~ QW!QT mm
)
Plaimiff, )
)
v. ) NO. 2;99cv3061-D
) JURY DEMAND
WILLIAM N. GRIFFIN, et al. )
)
Defendants. )

 

AMENDED SCHEDULING ORDER

 

The Court hereby GRANTS Plaintist Motion to Amend Scheduling Orderto
Enlarge Time to Identify Expert Witnesses. The following deadlines are hereby
established:

TO IDENTIFY PLAINTIFF’S EXPERTS: August 29, 2005

TO COMPLETE FACT DISCOVERY: December 15, 2005

TO FILE DISPOSITIVE MOTIONS: January 17, 2006

TO SERVE PLAINTIFF’S EXPERT REPORT(S): February 24, 2006

TO SERVE DEFENDANTS’ EXPERT REPORT(S): April 14, 2006

TO COMPLETE EXPERT DISCOVERY: June 14, 2006

TO FILE JOINT PRETRIAL ORDER: August 7, 2006, not

later than 4:00 p.m.

PRETRIAL CONFERENCE: The pretrial conference will take place at 8:45 a.m.

on August 14, 2006.

{L \WDOX\BKClienc\10246\001\pld\00004883 BKA} Thfs document entered on the docket sheet ln compliance

with Rule 58 and/or 79{€1} FHCF’ on 3' [‘ U.S/

 

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TRIAL: September ll, 2006, 9:00 a.rn.

This case is set for jury trial and is expected to last 10 days.

IT IS SO ORDERED.

 

RNICE B. DONALD `~
UNITED STATES DIsTRlCT JUDGE

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case 2:99-CV-03061 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

